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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   IN RE CELGENE CORPORATION, INC.                     Civil Action No. 18-cv-4772 (JMV) (JBC)
   SECURITIES LITIGATION

                                                            STIPULATION REGARDING
                                                             DEFENDANTS’ ANSWER


         WHEREAS, on December 19, 2019, the Court issued an Opinion and Order (ECF Nos. 75,

 76) granting in part and denying in part Defendants’ Motion to Dismiss the Second Amended

 Consolidated Class Action Complaint (the “SAC”) in the above-captioned action;

         WHEREAS, with respect to the portions of the SAC that were dismissed, the dismissal was

 without prejudice, and the Court gave Lead Plaintiff until January 17, 2020 to file an amended

 complaint (ECF Nos. 75, 76);

         WHEREAS, the Court indicated that if Lead Plaintiff does not file an amended complaint,

 the dismissed claims will be dismissed with prejudice (ECF Nos. 75. 76);

         WHEREAS, the Court entered a stipulation on January 2, 2020, stating that Defendants

 did not have a current obligation to answer the SAC, and that the parties would revert by January

 17, 2020 with a proposed revised deadline for Defendants’ response to the operative complaint for

 the Court’s consideration; and

        WHEREAS, Lead Plaintiff has determined that it will not file an amended complaint;

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

 the undersigned counsel for the parties, that, subject to the Court’s approval:

        Defendants shall have until March 5, 2020 to answer the SAC.
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  Dated: January 15, 2020

 Respectfully submitted,

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 Lead Counselfor Lead Plaintiff

 IT IS SO ORDERED


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